         Case 1:20-cv-01519-TNM Document 29 Filed 07/13/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RICH PENKOSKI, et al.,

                   Plaintiffs,

 v.                                                     Civil Action No. 20-1519 (TNM)

 MURIEL BOWSER,

                  Defendant.


               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTIONS
                FOR PRELIMINARY AND PERMANENT INJUNCTION
                 AND CROSS-MOTION FOR SUMMARY JUDGMENT

       Defendant Mayor Muriel Bowser (the District) opposes plaintiffs’ motions for a

preliminary and permanent injunction and cross-moves for summary judgment on all claims in

plaintiffs’ Complaint. LCvR 65.1(c); Fed. R. Civ. P. 56(a). As set forth in the accompanying

memorandum of points and authorities, plaintiffs are not entitled to injunctive relief and the

District is entitled to judgment as a matter of law. Plaintiffs lack standing to bring constitutional

challenges to the displays at issue—a painted mural depicting the words “BLACK LIVES

MATTER” on a portion of 16th Street, N.W. in the District of Columbia, and street signs

symbolically naming portions of the street “Black Lives Matter Plaza”—and cannot establish that

the displays violate the Establishment Clause of the First Amendment or the Equal Protection

Clause. Plaintiffs’ motions for a preliminary and permanent injunction should be denied, and

summary judgment should be entered in favor of the District. A proposed order is attached.

Dated: July 13, 2020.                 Respectfully submitted,

                                      KARL A. RACINE
                                      Attorney General for the District of Columbia
Case 1:20-cv-01519-TNM Document 29 Filed 07/13/20 Page 2 of 2




                     TONI MICHELLE JACKSON
                     Deputy Attorney General
                     Public Interest Division

                     /s/ Fernando Amarillas
                     FERNANDO AMARILLAS [974858]
                     Chief, Equity Section

                     /s/ Pamela A. Disney
                     PAMELA A. DISNEY [1601225]
                     GAVIN N. PALMER [1619264]
                     Assistant Attorneys General
                     441 Fourth Street, N.W., Suite 630 South
                     Washington, D.C. 20001
                     (202) 807-0371
                     (202) 730-1470 (fax)
                     pamela.disney@dc.gov

                     Counsel for Defendant




                               2
